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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK



SYMBOLOGY INNOVATIONS, LLC,                  )
                                             )
                    Plaintiff,               )
                                             )    Case No. 1:19-cv-4474
      v.                                     )
                                             )
NATURAL NECTAR INC.,                         )    JURY TRIAL DEMANDED
                                             )
                    Defendant.               )
                                             )




    Natural Nectar Inc. utilizes the patented QR code method on selected products such as
                                          CrackleBred




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           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

      1.     Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and

through its counsel, hereby brings this action for patent infringement against

Natural Nectar Inc. (“Natural Nectar” or “Defendant”) alleging infringement of the

following validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752,

titled “System and method for presenting information about an object on a

portable electronic device” (the “ʼ752 Patent”), attached hereto as Exhibit A.

                           NATURE OF THE ACTION

      2.     This is an action for patent infringement arising under the United

States Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                     PARTIES

      3.     Plaintiff Symbology Innovations, LLC is a Texas company with its

principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

      4.     On information and belief, Defendant Natural Nectar Inc. is a

company organized under the laws of New York with a principal place of business

at 4365 Bowne St., Flushing, NY 11355. Defendant can be served through its

registered agent Victor JH Peng, located at 3617 Bud Place, Flushing, NY 11354.

                          JURISDICTION AND VENUE

      5.     This lawsuit is a civil action for patent infringement arising under the

patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-

matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

      6.     The Court has personal jurisdiction over Defendant for the following

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reasons: (1) Defendant is present within or has minimum contacts within the State

of New York and the Eastern District of New York; (2) Defendant has purposefully

availed itself of the privileges of conducting business in the State of New York and

this district; (3) Defendant has sought protection and benefit from the laws of the

State of New York; and (4) Defendant regularly conducts business within the State

of New York and within this district, and Plaintiffʼs cause of action arises directly

from Defendantʼs business contacts and other activities in the State of New York

and in this district.

       7.     Defendant, directly and/or through intermediaries, ships, distributes,

uses, offers for sale, sells, and/or advertises products and services in the United

States, the State of New York, and this district including but not limited to the

products which contain the infringing ʼ752 Patent systems and methods as

detailed below. Upon information and belief, Defendant has committed patent

infringement in the State of New York and in this district; Defendant solicits and

has solicited customers in the State of New York and in this district; and

Defendant has paying customers that are residents of the State of New York and

this district and that use and have used Defendantʼs products and services in the

State of New York and in this district.

       8.     Venue is proper in the Eastern District of New York pursuant to 28

U.S.C. §§ 1400(b). Defendant is incorporated in this district, has transacted

business in this district, and has directly and/or indirectly committed acts of

patent infringement in this district.

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                                    PATENT-IN-SUIT

       9.    The Patent-in-Suit teaches systems and methods for enabling a

portable electronic device (e.g., smartphone) to retrieve information about an

object when the objectʼs symbology (e.g. QR code) is detected.

                     SUMMARY OF INFRINGING ACTIONS

       10.   Natural Nectar values creating a connection with its customers

through the use of new technologies. See Ex. 1 (available at natural-nectar.com)

(accessed July 6, 2019). Embracing this technological edge, one way that Natural

Nectar is able to connect with consumers is through the use of the patented QR

code method.




    Natural Nectar gains an edge by connecting with the U.S. consumer through the use of
     innovative technology (as depicted at natural-nectar.com) (accessed July 6, 2019).

                                  COUNT I
                (Infringement of U.S. Patent No. 8,424,752)

       11.   Plaintiff incorporates by reference the allegations of paragraphs 1-10,

the same as if set forth herein.

       12.   The ʼ752 Patent is valid, enforceable, and was duly and legally issued

by the United States Patent and Trademark Office (“USPTO”) on April 23, 2013.

The ʼ752 Patent is presumed valid and enforceable. See 35 U.S.C. § 282.
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       13.   Plaintiff is the owner by assignment of the ʼ752 Patent and possesses

all rights of recovery under the ʼ752 Patent, including the exclusive right enforce

the ʼ752 Patent and pursue lawsuits against infringers.

       14.   Without a license or permission from Symbology, Defendant has

infringed and continues to infringe on one or more claims of the ʼ752 Patent—

directly, contributorily, and/or by inducement—by importing, making, using,

offering for sale, or selling products and devices that embody the patented

invention, including, without limitation, one or more of the patented ʼ752 systems

and methods, in violation of 35 U.S.C. § 271.

       Direct Infringement

       15.   Defendant has been and now is directly infringing by, among other

things, practicing all of the steps of the ʼ752 Patent, for example, through internal

testing, quality assurance, research and development, and troubleshooting. See

Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed.Cir. 1993); see also 35 U.S.C. §

271 (2006). For instance, Defendant has directly infringed the Patent-in-Suit by

testing, configuring, and troubleshooting the functionality of QR codes on its

products and services.

       16.   By way of example, Defendant has infringed and continues to infringe

on at least one or more claims, including at least Claim 1 of the ʼ752 Patent which

teaches:

             A method comprising:
               capturing a digital image using a digital image capturing
                 device that is part of a portable electronic device;
               detecting symbology associated with an object within the
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                 digital image using a portable electronic device;
               decoding the symbology to obtain a decode string using
                 one or more visual detection applications residing on
                 the portable electronic device;
               sending the decode string to a remote server for
               processing:
               receiving information about the object from the remote
                 server wherein the information is based on the decode
                 string of the object.
               displaying the information on a display device associated
                 with the portable electronic device.

       17.   On information and belief, at least through testing, quality assurance,

and/or troubleshooting, Defendant employs a method wherein a digital image (i.e.,

“QR code”) associated with its products is captured by the camera of a portable

electronic device (i.e., a smartphone or tablet) (“capturing a digital image using a

digital image capturing device that is part of a portable electronic device”). See

Figures 1, 2, and 3.




                Figure 1                    Figure 2                       Figure 3

       18.   On information and belief, Defendant uses a smartphone, tablet, or


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similar device to detect symbology (i.e., the QR code) associated with an object,

such as the Defendantʼs infringing product (“detecting symbology associated with

an object within the digital image using a portable electronic device”).




                                       Figure 4
      19.    On information and belief, Defendant uses a smartphone, tablet, or

similar device to decode the symbology to obtain a decode string (i.e., hyperlink)

using the visual detection application residing in the smartphone or tablet

(“decoding the symbology to obtain a decode string using one or more visual

detection applications residing on the portable electronic device”). For example, a

smartphone detects the symbology of the QR code on Defendantʼs product and

decodes the digital image captured on the smartphone camera to produce a

decoded hyperlink as shown in the figures below. The decoded string is sent to a

remote server for processing as shown in Figure 5 (“sending the decode string to

a remote server for processing”).




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                                     Figure 5

      20.   On information and belief, after clicking the hyperlink obtained by

scanning the QR code associated with the product, the smartphone receives

information about the product from a remote server. (“receiving information about

the object from the remote server wherein the information is based on the decode

string of the object”). The information is received and displayed on the

smartphone as shown in Figure 6 below (“displaying the information on a display

device associated with the portable electronic device”).




                                     Figure 6
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       Induced Infringement

       21.     Defendant has been and now is indirectly infringing by way of

inducing infringement by others and/or contributing to the infringement by others

of the ʼ752 Patent in the State of New York, in this judicial District, and elsewhere

in the United States, by, among other things, making, using, offering for sale,

and/or selling, without license or authority, products affixed with QR codes that

require the accused technology for intended functionality, testing, configuration,

troubleshooting, and other utilization. End users include, for example, customers,

customersʼ customers, retail store personnel, and other third-parties.

       22.     Defendant took active steps to induce infringement, such as

advertising an infringing use, which supports a finding of an intention. See Metro-

Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may

be presumed from distribution of an article in commerce that the distributor

intended the article to be used to infringe another's patent, and so may justly be

held liable for that infringement").

       23.     The allegations herein support a finding that Defendant induced

infringement     of   the   ʼ752   Patent.   See   Power   Integrations    v.   Fairchild

Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed

induced infringement verdicts based on circumstantial evidence of inducement

[e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party

direct infringer was actually persuaded to infringe by that material.”).

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        Induced Infringement

        24.     Defendant has been and now is indirectly infringing by way of

 inducing infringement by others and/or contributing to the infringement by others

 of the ʼ752 Patent in the State of New York, in this judicial district, and elsewhere

 in the United States, by, among other things, making, using, offering for sale,

 and/or selling, without license or authority, products affixed with QR codes that

 require the accused technology for intended functionality, testing, configuration,

 troubleshooting, and other utilization. End users include, for example, customers,

 customersʼ customers, retail store personnel, and other third-parties.

        25.     Defendant took active steps to induce infringement, such as

 advertising an infringing use, which supports a finding of an intention. See Metro-

 Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may

 be presumed from distribution of an article in commerce that the distributor

 intended the article to be used to infringe another's patent, and so may justly be

 held liable for that infringement").

        26.     The allegations herein support a finding that Defendant induced

 infringement     of   the   ʼ752   Patent.   See   Power   Integrations    v.   Fairchild

 Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed

 induced infringement verdicts based on circumstantial evidence of inducement

 [e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

 customers, end users] without requiring hard proof that any individual third-party

 direct infringer was actually persuaded to infringe by that material.”).

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       Contributory Infringement

       27.     On information and belief, Defendant contributorily infringes on

 Symbologyʼs ʼ752 Patent. Defendant knew or should have known, at the very least

 as a result of its freedom to operate analyses, that third parties, such as its

 customers, would infringe the ʼ752 Patent by implementing Defendantʼs QR code

 technology.

       28.     On information and belief, Defendantʼs implementation of the

 accused functionality has no substantial non-infringing uses. See, e.g., Lucent

 Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that

 the “substantial non-infringing use” element of a contributory infringement claim

 applies to an infringing feature or component, and that an “infringing feature” of a

 product does not escape liability simply because the product as a whole has other

 non-infringing uses).

       Willful Infringement

       29.     On information and belief, the infringement of the ʼ752 Patent by

 Defendant has been and continues to be willful. Defendant has had actual

 knowledge of Symbologyʼs rights in the ʼ752 Patent and details of Defendantʼs

 infringement based on at least the filing and service of this complaint.

 Additionally, Defendant had knowledge of the ʼ752 Patent and its infringement in

 the course of Defendantʼs due diligence and freedom to operate analyses.

       Plaintiff Suffered Damages

       30.     Defendantʼs acts of infringement of the ʼ752 Patent have caused

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 damage to Symbology, and Symbology is entitled to recover from Defendant the

 damages sustained as a result of Defendantʼs wrongful acts in an amount subject

 to proof at trial pursuant to 35 U.S.C. § 271. Defendantʼs infringement of

 Symbologyʼs exclusive rights under the ʼ752 Patent will continue to damage

 Symbology causing it irreparable harm for which there is no adequate remedy at

 law, warranting an injunction from the Court.

                              REQUEST FOR RELIEF

       31.   Symbology incorporates each of the allegations in the paragraphs

 above and respectfully asks the Court to:

       (a)   enter a judgment that Defendant has directly infringed, contributorily

       infringed, and/or induced infringement of one or more claims of each of the

       ʼ752 Patent;

       (b)   enter a judgment awarding Symbology all damages adequate to

       compensate it for Defendantʼs infringement of, direct or contributory, or

       inducement to infringe, the including all pre-judgment and post-judgment

       interest at the maximum rate permitted by law;

       (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. §

       284 for Defendantʼs willful infringement of the ʼ752 Patent

       (d)   issue a preliminary injunction and thereafter a permanent injunction

       enjoining and restraining Defendant, its directors, officers, agents, servants,

       employees, and those acting in privity or in concert with them, and their

       subsidiaries, divisions, successors, and assigns, from further acts of

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       infringement, contributory infringement, or inducement of infringement of

       the ʼ752 Patent;

       (e)   enter a judgment requiring Defendant to pay the costs of this action,

       including all disbursements, and attorneysʼ fees as provided by 35 U.S.C. §

       285, together with prejudgment interest; and

       (f)   award Symbology all other relief that the Court may deem just and

       proper.



 Dated: August 4, 2019                Respectfully submitted,


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